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                                         EXHIBIT A

                                       Proposed Order




                                              1

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                      IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                              )    Chapter 11
 In re:                                       )
                                              )    Case No. 19-bk-30289
 Blackjewel, L.L.C.,                          )
                                              )    (Joint Administration Requested)
          Debtor.                             )
                                              )
 FEIN: XX-XXXXXXX                             )
                                              )    Chapter 11
 In re:                                       )
                                              )    Case No. 19-______
 Blackjewel Holdings L.L.C.,                  )
                                              )    (Joint Administration Requested)
          Debtor.                             )
                                              )
 FEIN: XX-XXXXXXX                             )
                                              )    Chapter 11
 In re:                                       )
                                              )    Case No. 19-______
 Revelation Energy, LLC,                      )
                                              )    (Joint Administration Requested)
          Debtor.                             )
                                              )
 FEIN: XX-XXXXXXX                             )
                                              )    Chapter 11
 In re:                                       )
                                              )    Case No. 19-______
 Revelation Management Corporation,           )
                                              )    (Joint Administration Requested)
          Debtor.                             )
                                              )
 FEIN: XX-XXXXXXX                             )




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                                  ) Chapter 11
 In re:                           )
                                  ) Case No. 19-______
 Revelation Energy Holdings, LLC, )
                                  ) (Joint Administration Requested)
        Debtor.                   )
                                  )
 FEIN: XX-XXXXXXX                 )
ORDER DIRECTING JOINT ADMINISTRATION OF RELATED CHAPTER 11 CASES

           Upon the motion (the “Motion”) of the above-captioned Debtors1 for entry of an order

authorizing the joint administration of their chapter 11 cases pursuant to Bankruptcy Rule 1015(b)

and Local Rule 1015-1(b) for procedural purposes only, as set forth more fully in the Motion; and

upon the First Day Declaration and first-day motions, filed contemporaneously with the Motion;

and the Court having jurisdiction to consider the Motion and the relief requested therein pursuant

to 28 U.S.C. §§ 157 and 1334; and venue being proper before this Court under 28 U.S.C. §§ 1408

and 1409; and consideration of the Motion and the relief requested therein being a core proceeding

as defined in 28 U.S.C. § 157(b); and due and proper notice having been given to the parties listed

in the Motion, and it appearing that no other or further notice need be provided; and the Court

having determined that the legal and factual bases set forth in the Motion establish just cause for

the relief granted herein; and it appearing that the relief requested in the Motion is in the best

interest of the Debtors, their estates, creditors and equity security holders; and upon all of the

proceedings had before the Court and upon due deliberation and sufficient cause appearing therefo,

IT IS HEREBY ORDERED, ADJUDGED AND DECREED

           1.       The Motion is GRANTED as set forth herein.

           2.       The above-captioned cases shall be jointly administered for procedural purposes

only pursuant to Bankruptcy Rule 1015(b) under Case No. 19-bk-30289 (the “Lead Case”).



1
    Capitalized terms used but not otherwise defined herein shall have the meaning ascribed in the Motion.

                                                           2

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         3.       To effect joint administration, the following administrative procedures shall apply,

but shall have no effect upon the substantive issues of the estates of the Debtors, either individually

or collectively:

                  a.        All motions, pleadings, and other documents filed in the jointly

         administered case shall bear a combined caption as set forth in paragraph 4 below, except

         for the following:

                            i. a motion which applies to fewer than all of the jointly administered
                               debtors must clearly indicate in the caption and title to which debtor(s)
                               the motion applies, but must still be filed in the Lead Case;

                            ii. all proofs of claim must be filed in the specific case to which they apply;

                            iii. amendments to schedules, statements, lists and other required
                                 documents under Rules 1002 and 1007 of the Federal Rules of
                                 Bankruptcy Procedures must be filed in the specific case to which the
                                 amendments apply.

                  b.        Debtors shall maintain adequate records regarding the assets of the

         respective Debtors’ estates in order to protect the rights of joint creditors and separate

         creditors of these estates.

         4.       The caption of the jointly administered chapter 11 cases shall be:


                             IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

In re:                                                  )     Chapter 11
                                                        )
Blackjewel, L.L.C., et al.,                             )     Case No. 19-bk-30289
                                                        )
                            Debtors.1                   )     (Joint Administration Requested)

1
  The Debtors in these chapter 11 cases and the last four digits of each Debtor’s taxpayer
identification number are as follows: Blackjewel, L.L.C. (0823); Blackjewel Holdings L.L.C.
(4745); Revelation Energy Holdings, LLC (8795); Revelation Management Corporation




                                                       3

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(8908) and Revelation Energy, LLC (4605). The headquarters of each Debtor is located at
1051 Main Street, Milton, West Virginia 25541-1215.

         5.       A docket entry shall be made in each of the Debtors’ chapter 11 cases to reflect the

joint administration of these chapter 11 cases substantially as follows:

         An order has been entered in this case directing the procedural consolidation
         and joint administration of the chapter 11 cases of Blackjewel, L.L.C. (0823);
         Blackjewel Holdings L.L.C. (4745); Revelation Energy Holdings, LLC (8795);
         Revelation Management Corporation (8908) and Revelation Energy, LLC
         (4605). All further pleadings and other papers shall be filed in, and all further
         docket entries shall be made in, the chapter 11 case of Blackjewel, L.L.C. – Case
         No. 19-bk-30289.

         6.       The Debtors shall maintain, and the Clerk of the United States Bankruptcy Court

for the Southern District of West Virginia shall keep, one consolidated docket, one file and one

consolidated service list.

         7.       Nothing contained in this order shall be interpreted as directing or otherwise

affecting the substantive consolidation of any of the above-captioned cases.

         8.       The Debtors are authorized to take all actions necessary to effectuate the relief

granted pursuant to this order in accordance with the motion.

         9.       Notwithstanding the possible applicability of Bankruptcy Rules 6004(h), 7062,

9014 or otherwise, this order shall be immediately effective and enforceable upon its entry.

         10.      The Court shall retain jurisdiction with respect to all matters pertaining to the

interpretation and implementation of this order.




                                                   4

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